      Case 2:20-cv-01537-GGG-KWR Document 15 Filed 11/12/20 Page 1 of 6




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

JULIUS WOLLFARTH                          *
                                          *                 CIVIL ACTION NO. 20-1537
                        Plaintiff         *
                                          *
                                          *
                                          *                 SECTION “T” 4
VERSUS                                    *                 JUDGE GREG G. GUIDRY
                                          *
                                          *
CITY OF NEW ORLEANS; SHAWN D.             *
FERGUSON, INDIVIDUALLY, AND               *
IN HIS OFFICIAL CAPACITY AS               *                 MAG. DIV. 4
SUPERINTENDENT OF POLICE; POLICE          *                 MAG. JUDGE KAREN M. ROBY
OFFICER JOHN DOE 1 AND POLICE             *
OFFICER JOHN DOE 2                        *
                                          *
                        Defendants        *
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* * * * * * * * * * * * * * * * * * * * * *

              PLAINTIFF’S MEMORANDUM IN OPPOSITION TO
         DEFENDANTS MOTION TO DISMISS PURSUANT TO FRCP 12(b)(6)

       NOW INTO COURT, on behalf of the Plaintiff, Julius Wollfarth, comes undersigned

counsel, who appears and who opposes the Defendants’ Motion to Dismiss Pursuant to FRCP

12(b)(6), as more fully set forth hereinbelow:

FACTUAL BACKGROUND:

       On May 23, 2019, Plaintiff, Julius Wollfarth, was at his home preparing to unload items he

had just purchased from a local Walmart from his car. Mr. Wollfarth was on the phone with his

United Healthcare Nurse, discussing issues he was experiencing with his continuum of care, or

rather lack thereof, and the continued issues he suffered from as a result of the lack of adequate


                                                 1
      Case 2:20-cv-01537-GGG-KWR Document 15 Filed 11/12/20 Page 2 of 6




care. Mr. Wollfarth had previously been speaking with his counselor regarding the same issue.

Suddenly and without warning, Mr. Wollfarth was summoned verbally by an NOPD Officer to

come outside of his home. That Officer was to the left of the front door at the corner of the house.

A second NOPD Officer remained hidden by Mr. Wollfarth’s carport/parked car. Upon Mr.

Wollfarth’s complying and coming outside of his already opened front door, Mr. Wollfarth was

visibly alarmed by the first officers brandishing his firearm at him (Mr. Wollfarth). Mr. Wollfarth

complied with the first Officer’s commands to walk into the yard and speak with him. The hidden

second Officer came from around Mr. Wollfarth’s car, using his police radio in front of his body

worn camera in an obvious attempt to block his Body Worn Camera from filming the incident. A

third NOPD Officer arrived on the scene and came from behind Mr. Wollfarth as he spoke with

the first Officer, taking care not to be heard or observed, and grabbed Mr. Wollfarth’s arm and

began to handcuff him. Mr. Wollfarth became alarmed at the incident, expressed his alarm, and

was subsequently taken forcibly to the ground by the third NOPD Officer. This caused Mr.

Wollfarth to exclaim that he was being hurt by this action and by the officer and that he felt he was

being abused. The second NOPD Officer then approached and snatched Mr. Wollfarth’s still open

and active phone from his hand and tossed it to the side.

       At no time prior to this incident did any officer indicate they were there for a wellness

check, which is arguably for the benefit of the individual being checked on. Only after the physical

handling of Mr. Wollfarth forcibly to the ground, did the officers ask if Mr. Wollfarth had a

weapon. It was not until sometime later, after the incident, did other NOPD Officers arrive at Mr.

Wollfarth’s home to explain that the incident was actually a wellness check, that they thought he

had a gun. The entirety of Mr. Wollfarth’s factual statement regarding the incident, both herein

                                                 2
      Case 2:20-cv-01537-GGG-KWR Document 15 Filed 11/12/20 Page 3 of 6




and in the Complaint, is supported by body worn cameras of several NOPD Officers. The wellness

check in and of itself is not the issue, it is the unreasonable use of excessive force that caused Mr.

Wollfarth’s injuries and is the crux of his constitutional complaint

       Mr. Wollfarths, prior to this incident, suffered from numerous medical issues, which have

been worsened as a result of this unnecessary and unreasonable use of excessive force, being

thrown to the ground in such an unwarranted manner. Mr. Wollfarth’s continued physical

deterioration is well documented in his medical records from subsequent treatment from this

incident. Mr. Wollfarth’s deteriorating condition is a direct result from the violations of his

constitutional rights by said NOPD Officers on May 23, 2019 in his front yard by the unreasonable

use of excessive force.

MOTION TO DISMISS PURSUANT TO FRCP 12(b)(6)

       The complaint must be liberally construed in favor of the Plaintiff, and all facts of the

complaint pled in the complaint must be taken as true. Wright and Miller, Federal Practice and

Procedure § 1357 at 601 (1969); Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th

Cir. 2000). The district court may not dismiss a complaint under Rule 12(b)(6), “unless it appears

beyond a doubt that the plaintiff can prove no set of facts in support of his claim which would

entitle him to relief.” Id. This strict standard of review under Rule 12(b)(6) has been summarized

as follows: “The question therefore is whether in the light most favorable to the Plaintiff and with

every doubt resolved in his behalf, the complaint state any valid claim for relief.” Id. This Court

will not look beyond the face of the pleadings to determine whether any relief should be granted

based on the alleged facts and will construe all factual allegations in the light most favorable to

the Plaintiffs.” Spivey v. Robertson, 197 F.3d 772, 774 (5th Cir. 1999).

                                                  3
      Case 2:20-cv-01537-GGG-KWR Document 15 Filed 11/12/20 Page 4 of 6




        Further, a 12(b)(6) motion to dismiss should be granted “only if it is clear that no relief

could be granted under any set of facts that could be proved consistent with the allegations.”

Swierkiewicz v. Sorema, N.A., 122 S.Ct. 992, 998 (2002). See also, Indest v. Freeman Decoration,

Inc. 164 F.3d 258, 261 (5th Cir. 1999) (“dismissal will not be affirmed if the allegations support

relief on any possible theory.”).

        In making the determination, the Court “must accept all well-pleaded facts as true and

…view them in the light most favorable to the Plaintiff.” Campbell v. Wells Fargo Bank, N.A.,

781 F.2d 440, 442 (5th Cir. 1986). “All questions of fact and any ambiguities in the current

controlling substantive law must be resolved in the plaintiff’s favor.” Lewis v. Fresne, 252 F.3d

352, 357 (5th Cir. 2001).

        The allegations in the Preliminary Statement of the Complaint clearly set forth an adequate

claim and further place the Defendants on notice of the basis of the claims in the Complaint and

the nature of their actions therein. Further, in Paragraph 9 of the Complaint, it clearly and

categorically puts the Defendants on notice that the actions taken against Mr. Wollfarth were taken

“under color of law”. Additionally, Superintendent Ferguson is notified sufficiently in Paragraph

23 of the Complaint of his actions and/or inactions that encouraged, tolerated, ratified, and has

been deliberately indifferent to the policies, patterns, practices and customs, and the need for more

of different training, supervision, investigation, or discipline in the areas set forth in subparagraphs

9 - A, B, C, D, and E.

        Furthermore, the representation that the Officers are entitled to Qualified Immunity

because their actions in detaining the Plaintiff were reasonable under the circumstances is

conclusionary at best, and more importantly, contradicted by the allegations and representations

                                                   4
        Case 2:20-cv-01537-GGG-KWR Document 15 Filed 11/12/20 Page 5 of 6




made by the Plaintiff in the Complaint, which for the purposes of this motion must be taken as

true.

         Alternatively, should the court feel that the Plaintiff has not explicitly pled the matter

sufficiently in the Complaint, then it is respectfully requested that proper remedy is not dismissal

but rather to grant the Plaintiff an opportunity to amend his complaint. Fed. R. Civ. P. 15(a) states

that leave to replead should “be freely given when justice requires.”

CONCLUSION

         In consideration of the foregoing, it is respectfully represented that the Defendants’ Motion

to Dismiss Pursuant to FRCP 12(b)(6) should be denied, or that, alternatively, the Plaintiff be

granted an opportunity to amend his complaint accordingly.

                                               Respectfully submitted,

                                               /s/Richard J. Richthofen, Jr._______________
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 12, 2020, a true and exact copy of the

foregoing was electronically filed with the Clerk of Court using the CM/ECF system which

                                                  5
      Case 2:20-cv-01537-GGG-KWR Document 15 Filed 11/12/20 Page 6 of 6




will send notification to all counsel of record who have consented to electronic notification.


                                   /s/Richard J. Richthofen, Jr.
                                    Richard J. Richthofen, Jr.




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